
710 S.E.2d 35 (2011)
STATE of North Carolina
v.
Jeremy Brian JENNINGS.
No. 69P11.
Supreme Court of North Carolina.
June 15, 2011.
Emily H. Davis, Assistant Appellate Defender, for Jennings, Jeremy Brian.
Jacqueline Perez, Assistant District Attorney, for State of N.C.
Roxann Vaneekhoven, District Attorney, for State of N.C.

ORDER
Upon consideration of the petition filed on the 16th of February 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 15th of June 2011."
